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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

   TIMOTHY JACKSON,             §
       Plaintiff,               §
                                §
  v.                            §        Civil Action No. 4:21-mc-00008
                                §       Underlying Case:
  LAURA WRIGHT, et. al.,        §       Civil Action No 4:21-cv-00033
                                §      (In the Eastern District of Texas)
       Defendants.              §
______________________________________________________________

        MOVANTS’ UNOPPOSED RULE 45(F) MOTION TO TRANSFER
  ______________________________________________________________

       Pursuant to Federal Rules of Civil Procedure 45(f) (“Transferring of Subpoena-Related

Motion”), non-party movants Benjamin Brand, Jennifer Cowley, Jincheng Du, Francisco

Guzman, John Ishiyama, Matthew Lemberger-Truelove, and Jennifer Wallach (collectively

“Movants”), file this Unopposed Motion to Transfer seeking transfer of Movants’ Opposed

Motion to Quash Subpoenas and Motion for Protective Order to the Sherman Division of the

Eastern District of Texas where the underlying case is pending before the Honorable Judge Amos

L. Mazzant. Transfer will conserve judicial resources and prevent conflicting rulings. Movants,

who are the target of the subpoenas, and Plaintiff Professor Timothy Jackson, who had the

subpoenas issued, consent to the transfer.

       For the foregoing reasons, Movants respectfully request that the Court transfer Movants’

subpoena-related motion to Judge Mazzant’s Court in the Sherman Division of the Eastern

District of Texas.


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                                               Respectfully submitted,

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                                               /s/ Matthew Bohuslav
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                             CERTIFICATE OF CONFERENCE

       I certify that on May 25, 2021, I conferred with Plaintiff’s counsel, Michael Allen, regarding
the substance of this motion who indicated that Plaintiff was unopposed to relief requested in this
motion.

                                               /s/ Matthew Bohuslav
                                               MATTHEW BOHUSLAV
                                               Assistant Attorney General
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of May, 2021, I served the counsel of record for Plaintiff
in the underlying lawsuit that gives rise to this motion via email at:


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